                                                                                  Case:05-18205-EEB Doc#:1 Filed:04/13/05                                        Entered:04/13/05 07:47:55 Page1 of 7
                                                                     (Official Form 1) (12/03)
                                                                     FORM B1
                                                                                                          United States Bankruptcy Court
                                                                                                                                                                                                         Voluntary Petition
                                                                                                                District of Colorado
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Bradford, Robert Lee                                                                 Bradford, Dina Michelle
                                                                      All Other Names used by the Debtor in the last 6 years                               All Other Names used by the Joint Debtor in the last 6 years
                                                                      (include married, maiden, and trade names):                                          (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.                     Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
                                                                      No. (if more than one, state all): 8517                                              No. (if more than one, state all): 2276
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                     Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      8824 S. Drea Lane                                                                    470 Palm Springs Way
                                                                      Tempe, AZ 85284                                                                      Colorado Springs, CO 80921


                                                                      County of Residence or of the                                                        County of Residence or of the
                                                                      Principal Place of Business: Out of State                                            Principal Place of Business: El Paso
                                                                      Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):
© 1993-2005 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      Location of Principal Assets of Business Debtor
                                                                      (if different from street address above):

                                                                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                      Venue (Check any applicable box)
                                                                      ü  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                         preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                                    Type of Debtor (Check all boxes that apply)                                   Chapter or Section of Bankruptcy Code Under Which
                                                                      ü    Individual(s)                     Railroad                                                       the Petition is Filed (Check one box)
                                                                           Corporation                       Stockbroker                                   ü    Chapter 7           Chapter 11             Chapter 13
                                                                           Partnership                       Commodity Broker                                   Chapter 9           Chapter 12
                                                                           Other                             Clearing Bank                                      Sec. 304 - Case ancillary to foreign proceeding

                                                                                          Nature of Debts (Check one box)
                                                                      ü Consumer/Non-Business
                                                                                                                                                                                   Filing Fee (Check one box)
                                                                                                          Business
                                                                                                                                                           ü    Full Filing Fee attached
                                                                              Chapter 11 Small Business (Check all boxes that apply)                            Filing Fee to be paid in installments (applicable to individuals only)
                                                                                                                                                                Must attach signed application for the court’s consideration
                                                                           Debtor is a small business as defined in 11 U.S.C. § 101                             certifying that the debtor is unable to pay fee except in installments.
                                                                           Debtor is and elects to be considered a small business under                         Rule 1006(b). See Official Form No. 3.
                                                                           11 U.S.C. § 1121(e) (Optional)
                                                                      Statistical/Administrative Information (Estimates only)                                                                    THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      ü   Debtor estimates that, after any exempt property is excluded and administrative expenses
                                                                          paid, there will be no funds available for distribution to unsecured creditors.
                                                                                                                1-15          16-49      50-99      100-199     200-999      1000-over
                                                                      Estimated Number of Creditors
                                                                                                                               ü
                                                                      Estimated Assets
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                                      ü
                                                                      Estimated Debts
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                                                    ü
                                                                     VOLUNTARY PETITION
                                                                                  Case:05-18205-EEB Doc#:1 Filed:04/13/05                                    Entered:04/13/05 07:47:55 Page2 of 7
                                                                     (Official Form 1) (12/03)                                                                                                                      FORM B1, Page 2
                                                                     Voluntary Petition                                                                Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                            Bradford, Robert Lee & Bradford, Dina Michelle
                                                                                                  Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                      Location                                                                         Case Number:                               Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                  Case Number:                               Date Filed:
                                                                      None
                                                                      District:                                                                        Relationship:                              Judge:


                                                                                                                                               Signatures
                                                                                   Signature(s) of Debtor(s) (Individual/Joint)                                                              Exhibit A
                                                                      I declare under penalty of perjury that the information provided in this              (To be completed if debtor is required to file periodic reports
                                                                      petition is true and correct.                                                          (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                      [If petitioner is an individual whose debts are primarily consumer                    Commission pursuant to Section 13 or 15(d) of the Securities
                                                                      debts and has chosen to file under Chapter 7] I am aware that I may                  Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                      proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,                Exhibit A is attached and made a part of this petition.
                                                                      understand the relief available under each such chapter, and choose to
                                                                      proceed under chapter 7.                                                                                               Exhibit B
                                                                      I request relief in accordance with the chapter of title 11, United States                       (To be completed if debtor is an individual
                                                                      Code, specified in this petition.                                                                whose debts are primarily consumer debts)
                                                                                                                                                       I, the attorney for the petitioner named in the foregoing petition,
© 1993-2005 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      X   /s/ Robert Lee Bradford                                                      declare that I have informed the petitioner that [he or she] may proceed
                                                                          Signature of Debtor                                   Robert Lee Bradford    under chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                       explained the relief available under each such chapter.
                                                                      X   /s/ Dina Michelle Bradford
                                                                          Signature of Joint Debtor                           Dina Michelle Bradford
                                                                                                                                                       X    /s/ Anthony R. Cross                                          4/13/05
                                                                          Telephone Number (If not represented by attorney)                                 Signature of Attorney for Debtor(s)                               Date

                                                                          April 13, 2005                                                                                                     Exhibit C
                                                                          Date
                                                                                                                                                       Does the debtor own or have possession of any property that poses or
                                                                                                  Signature of Attorney                                is alleged to pose a threat of imminent and identifiable harm to public
                                                                                                                                                       health or safety?
                                                                      X   /s/ Anthony R. Cross                                                             Yes, and Exhibit C is attached and made a part of this petition.
                                                                          Signature of Attorney for Debtor(s)
                                                                                                                                                       üNo
                                                                          Anthony R. Cross 8933
                                                                          Printed Name of Attorney for Debtor(s)                                                   Signature of Non-Attorney Petition Preparer
                                                                          The Cross Law Firm                                                           I certify that I am a bankruptcy petition preparer as defined in 11
                                                                          Firm Name                                                                    U.S.C. § 110, that I prepared this document for compensation, and that
                                                                                                                                                       I have provided the debtor with a copy of this document.
                                                                          416 E. Colorado Ave Ste. 200
                                                                          Address
                                                                          Colorado Springs, CO 80903                                                     Printed Name of Bankruptcy Petition Preparer

                                                                          (719) 632-9991                                                                 Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                          Telephone Number
                                                                          April 13, 2005                                                                 Address
                                                                          Date

                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this           Names and Social Security numbers of all other individuals who
                                                                      petition is true and correct, and that I have been authorized to file this         prepared or assisted in preparing this document:
                                                                      petition on behalf of the debtor.
                                                                      The debtor requests relief in accordance with the chapter of title 11,             If more than one person prepared this document, attach additional
                                                                      United States Code, specified in this petition.                                    sheets conforming to the appropriate official form for each person.

                                                                      X                                                                                  X
                                                                          Signature of Authorized Individual
                                                                                                                                                              Signature of Bankruptcy Petition Preparer

                                                                          Printed Name of Authorized Individual
                                                                                                                                                              Date

                                                                          Title of Authorized Individual                                               A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                       of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                          Date                                                                         in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     VOLUNTARY PETITION
                                                                               Case:05-18205-EEB Doc#:1 Filed:04/13/05                     Entered:04/13/05 07:47:55 Page3 of 7
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Colorado

                                                                     IN RE:                                                                                  Case No.
                                                                     Bradford, Robert Lee & Bradford, Dina Michelle                                          Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: April 13, 2005                   Signature: /s/ Robert Lee Bradford
                                                                                                                        Robert Lee Bradford                                                       Debtor



                                                                     Date: April 13, 2005                   Signature: /s/ Dina Michelle Bradford
                                                                                                                        Dina Michelle Bradford                                        Joint Debtor, if any



                                                                     Date: April 13, 2005                   Signature: /s/ Anthony R. Cross
                                                                                                                        Anthony R. Cross 8933                                     Attorney (if applicable)
© 1993-2005 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     VERIFICATION OF CREDITOR MATRIX
Case:05-18205-EEB Doc#:1 Filed:04/13/05   Entered:04/13/05 07:47:55 Page4 of 7



ACS
Po Box 78208
Pheonix, AZ 85062-8808



AT& T Wireless
PO Box 79075
Pheonix, AZ 85062-9075



Audobon
3030 N. Circle Dr.
Colorado Springs, CO     80909



Beneficial
3015 S. Academy Blvd.
Colorado Springs, CO 80916



Budget Control Center
PO Box 370107
Denver, CO 80237-0107



Capital One
PO Box 60024
City Of Industry, CA     91716-0024



Castillo Dental Associates
1910 Vindacator Suite 3 103
Colorado Springs, CO 80919



Colorado Springs Orthopedic
3010 N. Circle Dr. Ste. #100
Colorado Springs, CO 80909
Case:05-18205-EEB Doc#:1 Filed:04/13/05   Entered:04/13/05 07:47:55 Page5 of 7



Credit Service Company
PO Box 1120
Colorado Springs, CO 80901-1120



DHL
PO Box 4723
Houston, TX   77210-4723



Discover
PO Box 30395
Salt Lake City, UT    84130-0395



Four Peaks, LLC
Po BOx 38245
Colorado Springs, CO     80937



Frontier Business Products
700 W. 48th Ave.
Denver, CO 80216



Harley Davidson
8529 Innovation Way
Chicago, IL 60682-0085



Household Credit Services
PO Box 80053
Salinas, CA 93912-0053



HSBC/MS
PO Box 60113
City Of Industry, CA     91716-0113
Case:05-18205-EEB Doc#:1 Filed:04/13/05   Entered:04/13/05 07:47:55 Page6 of 7



Irvin Borenstein
The Marketplace
3025 S. Parker Rd. Tower 11 Suite #711
Aurora, CO 80014



McCloskey Motors
5515 N. Academy
Colorado Springs, CO     80918



McLeod
Po Box 3243
Milwaukie, WI    53201-3243



Michael P. Medved
355 Union Blvd. Ste. 302
Lakewood, CO 80228



Nissan Motor Acceptance Corp.
PO Box 660680
Dallas, TX 75266-0680



Pikes Peak Anesthesia
PO Box 820
Colorado Springs, CO 80901



Risk Management Alternatives
11214 Renner Rd.
Lenexa, KS 66219



Sams Club
PO Box 530942
Atlanta, GA 30353-0942
Case:05-18205-EEB Doc#:1 Filed:04/13/05   Entered:04/13/05 07:47:55 Page7 of 7



Target National Bank
PO Box 59231
Minneapolis, MN 55459-0231



Terence Burns
2925 S. Deframe Way
Lakewood, CO 80228



Wells Fargo
PO Box 173853
Denver, CO 80217-3853



Wells Fargo Financial
Po BOx 98798
Las Vegas, NV 89193-8798



WFS Financial
PO Box 25341
Santa Ana, CA    92799-5341
